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           EXHIBIT A-35
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              DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY                             Sep 1 2022 4:52pm


In the Matter of

JEFFREY B. CLARK                                   Disciplinary Docket No.

A Member of the Bar of the District                2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                     MOTION TO FILE UNDER SEAL

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

requests that his Request for Deferral under Board Rule 4.2 be filed under seal.




                               .

      Disciplinary Counsel correctly pointed out that this Motion to File Under

Seal did not accompany the filing of the Request to Defer, and so it is submitted

herewith with the request that it be applied to the filing of the Request to defer.

      Respectfully submitted this 1 day of September, 2022.
      Case 1:22-mc-00096-RC Document 1-35 Filed 10/17/22 Page 3 of 4




/s/ Charles Burnham                         Robert A. Destro*
Charles Burnham                             Ohio Bar #0024315
DC Bar No. 1003464                          4532 Langston Blvd, #520
Burnham and Gorokhov, PLLC                  Arlington, VA 22207
1424 K Street, NW                           202-319-5303
Suite 500                                   robert.destro@protonmail.com
Washington DC 20005                         *Motion for pro hac vice admission
(202) 386-6920
charles@burnhamgorokhov.com


Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach,
LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to File Under Seal by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 1 day of September, 2022.


                                       /s/ Charles Burnham
                                       Charles Burnham
                                       DC Bar No. 1003464
1424 K Street, NW
Suite 500
Washington DC 20005
(202) 386-6920
charles@burnhamgorokhov.com




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